
652 S.E.2d 649 (2007)
The NORTH CAROLINA STATE BAR
v.
Scott BREWER and Kenneth Honeycutt.
No. 288P07.
Supreme Court of North Carolina.
October 11, 2007.
Katherine E. Jean, Counsel, David R. Johnson, Deputy Counsel, for State Bar.
James B. Maxwell, Durham, for Brewer.
Charles B. Brooks, II, Monroe, for Honeycutt.
Prior report: ___ N.C.App. ___, 644 S.E.2d 573.

ORDER
Upon consideration of the petition filed on the 19th day of June 2007 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of October 2007."
